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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

ADAM COMMUNITY CENTER,
a domestic nonprofit corporation, a/k/a          Civil Action No. 18-13481
ADAM COMMUNITY (ACC), a
domestic nonprofit corporation,                  Hon. Nancy G. Edmunds

       Plaintiff,
v.

CITY OF TROY, et al,
     Defendants.
___________________________________________________________/

      DEFENDANT’S MOTION TO SUPPLEMENT THEIR MOTION FOR
     SUMMARY JUDGMENT TO ASSERT AN ADDITIONAL ARGUMENT
        BASED ON MOOTNESS; BRIEF IN SUPPORT OF MOTION

     MOTION TO SUPPLEMENT MOTION FOR SUMMARY JUDGMENT

       Defendants City of Troy, Troy City Council, Troy Planning

Commission, and Troy Zoning Board of Appeals (Defendants) move for an

order allowing a supplemental argument to be added to its previously filed

motion for summary judgment (ECF No. 68) based on mootness for the

following reasons:

1. Plaintiff filed a complaint against the above-named Defendants and

     individual members of the City of Troy Zoning Board of Appeals (ZBA),

     alleging violations of the Religious Land Use and Institutionalized Persons




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   Act (RLUIPA) U.S.C. Section 2000 cc, and also seeking relief under 42

   U.S.C. §1983 based on alleged violations of the United States Constitution.

2. This case was consolidated for discovery purposes with a case filed by

   the United States of America, Case No. 19-cv-12736, (USA case)

   because the two cases involved the same facts and issues and are

   based on allegations that the City’s zoning ordinance violated RLUIPA.

3. Both cases alleged Sections 6.21 (E) – (F) of the City of Troy Zoning

   Ordinance, which prohibited Plaintiff from using property at 3635 Rochester

   Road as a place of worship because of setback and parking restrictions,

   violated RLUIPA.

4. Both cases sought injunctive relief to allow Plaintiff to use the property as

   place of worship.

5. The individual Defendants have all been dismissed from the lawsuit.

   ECF No. 54.

6. The remaining parties in this case filed cross motions for summary

   judgment, to which both parties have filed responses and replies. ECF

   No’s. 66, 68, 70, 72, 73 and 74.

7. Cross motions for summary judgment were also filed in the USA case

   resulting in a final decision that enjoined the City of Troy, its officers,




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   employees, agents, successors from enforcing Sections 6.21 (E) – (F) of

   its Zoning Ordinance. ECF No. 55 in USA case.

8. This Court has not entered a ruling on the cross motions for summary

   judgment in this case.

9. Subsequent to this Court’s final decision in the USA case, the Court

   directed the parties in this case to engage in settlement discussions and

   a settlement conference with Magistrate Judge David R. Grand in an

   attempt to resolve any remaining issues.

10.    As part of the settlement negotiations, the City of Troy offered to

   forego other options and let Plaintiff use the subject property as a place

   of worship, as long as there were critical measures taken to insure the

   premises complied with applicable fire and building codes and was safe

   for use by members of public.

11.   Members of the City’s Building and Fire Departments worked

   diligently with Plaintiff to educate and assist Plaintiff in obtaining

   compliance with all Fire and Building Codes and on July 13, 2022, the

   City issued a full certificate of occupancy, allowing Plaintiff to use the

   property at 3635 Rochester Road as a place of worship.




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12.    Since Plaintiff is now using the subject property for a place of

   worship, its claims for declaratory and injunctive relief are moot and

   should be dismissed.

13.   Since the appropriate relief allowed under RLUIPA does not include

   monetary damages, all of Plaintiff’s claims seeking damages should be

   dismissed.

   Defendants sought Plaintiff’s concurrence in the relief sought in this

motion as required by LR 7.1 on August 15, 2022, but that concurrence

was not denied by Amy V. Doukoure, Attorney for Plaintiff Adam

Community Center.

Dated: August 15, 2022                     s/Allan T. Motzny
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                     BRIEF IN SUPPORT OF MOTION

                  STATEMENT OF ISSUES PRESENTED

      The issues presented in this motion are:

      1. Should Plaintiff’s claims for declaratory and injunctive relief be

dismissed based on mootness?

      2. Should Plaintiff’s damage claims be dismissed on the basis

RLUIPA does not authorize relief in the form of money damages?


  STATEMENT OF MOST CONTROLLING/APPROPRIATE AUTHORITY

  1. The most controlling or appropriate authority for Issue 1 is Brandywine

     v City of Richmond, 359 F3d 830 (CA 6, 2004).

  2. The most controlling or appropriate authority for Issue 2 is Haight v

     Thompson, 763 F3d 554 (CA 6, 2014).




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                           STATEMENT OF FACTS

      Plaintiff Adam Community Center (Adam) filed an eleven-count

complaint against the City of Troy, Troy City Council, City of Troy Planning

Commission, City of Troy Zoning Board of Appeals (City Defendants) and

several individual members of the Zoning Board of Appeals based on alleged

violations of the Religious Land Use and Institutionalized Person Act

(RLUIPA), 42 U.S.C. § 2000cc and based on alleged constitutional violations

under 42 U.S.C. §1983. Adam’s complaint requested declaratory and

injunctive relief and money damages. Approximately ten months later, the

United States filed a two-count complaint against the City of Troy, Case No.

19-cv-12736, alleging violations of RLUIPA. (USA case). These cases both

stem from Adam’s request to convert an existing building, located at 3635

Rochester Road, into a mosque, community center, library, gymnasium, and

banquet hall. Under Troy’s zoning ordinance, Chapter 39, Section 6.21, the

existing building did not meet the setback and parking requirements for the

intended uses, including a place of worship. Adam therefore applied to Troy’s

ZBA, requesting seven variances. Adam filed this lawsuit after the ZBA

denied the variances.

      The City Defendants and Adam filed cross motions for summary

judgment. Both parties have also filed responses and replies related to the


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motions for summary judgment. ECF No’s. 66, 68, 70, 72, 73 and 74. Cross

motions for summary judgment were also filed in the USA case. On March

18, 2022, this Court entered an order in the USA case, denying the City’s

motion for summary judgment and granting the USA’s motion for summary

judgment. ECF No. 55 in Case No. 19-cv-12736. The order enjoins the City

from enforcing the setback and parking requirements of Section 6.21 of its

zoning ordinance. This case is still pending, based on a subsequent motion

for additional relief filed by Plaintiff USA. The Court has not entered an order

related to the summary judgment motions filed in this case.

      Subsequent to this Court’s decision in the USA case, the Court

directed the parties to engage in settlement discussion and a settlement

conference with Magistrate Judge David R. Grand in an attempt to resolve

any remaining issues. Without disclosing the details of those discussions,

the City asserts that it has willingly worked with Adam and helped it to

correct several building and fire code violations, which required extensive

building and electrical work, some of which was conducted without a

permit. The City has now issued a full certificate of occupancy that allows

Adam to use the property as a place of worship. A copy of the certificate of

occupancy is attached as Exhibit A.

                             ARGUMENT


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    I.      PLAINTIFF’S CLAIMS FOR DECLARATORY AND INJUNCTIVE
             RELIEF SHOULD BE DISMISSED BASED ON MOOTNESS.

         As a result of this Court’s decision in the USA case, enjoining the

enforcement of Section 6.21 (E) – (F) of the City of Troy Zoning Ordinance,

the specific provisions challenged by Plaintiff are no longer in effect. Since

a court can neither declare unconstitutional nor enjoin the enforcement of a

provision no longer in effect, the Plaintiff’s claims in this case are moot.

Brandywine v City of Richmond, 359 F3d 830, 836 (CA 6, 2004). Also,

since Adam is now using the subject property as a place of worship as

allowed by the certificate of occupancy, the injunctive relief requested in

this case would serve no purpose, as there is no longer a live issue for this

Court to decide. Claims become moot when there is no longer a live issue.

Id, citing County of Los Angeles v Davis, 440 US 625, 631; 99 S Ct 1379;

59 L Ed 2d 642 (1978).

         In Outdoor Media Group, Inc. v City of Beaumont, 506 F3d 895 (CA

9, 2007), the plaintiff challenged the validity of an ordinance that allowed

billboards subject to regulations. During the pendency of the action, the

City repealed the challenged ordinance and replaced it with a new

ordinance specifically banning all new billboards. Id., 899. The Court

determined the plaintiff’s claims for injunctive and declaratory relief were

moot because plaintiff was no longer subject to the old ordinance and there
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existed no live issue upon which the could issue prospective relief. Id.,

901-902. Likewise, in this case, the ordinance provision challenged by

Plaintiff is no longer in effect as a result of this Court’s ruling in the USA

case. In Berryman v Granholm, 346 Fed Appx 1 (CA 6, 2009), a case

involving a claim under the institutionalized person provisions of RLUIPA,

42 U.S.C. § 2000cc-1, the plaintiff was seeking declaratory and injunctive

relief based on his removal from the Kosher Meal Program at the St. Louis

Correctional facility in Michigan. However, since the plaintiff was

transferred to another facility, both the District Court and the Sixth Circuit

Court of Appeals ruled the claims for declaratory and injunctive relief were

rendered moot. Id. p 5. Although neither Court went into detail as to why

the claims were rendered moot, it is evident the Court could not grant

injunctive relief to allow the plaintiff to participate in a program at the St.

Louis prison when the plaintiff was no longer an inmate at that prison.

Similarly, Plaintiff’s request for injunctive relief to require the City of Troy to

allow it to operate a place of worship at the subject property has been

rendered moot because Plaintiff is now using the building on the property

as a place of worship. Thus, since there is no longer any live issue as to

whether Adam can use 3635 Rochester Road as a place of worship,

Plaintiff’s request for declaratory and injunctive relief should be dismissed


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 as moot. As shown by an email submitted by the United States Attorney’s

 Office related to a motion filed in that case, the United States has also

 acknowledged any request for injunctive relief to allow Adam to use the

 subject property as a place of worship has been rendered moot. See

 Exhibit B.

       Plaintiff may contend the request for injunctive relief is not moot since

 the City could appeal the decision granting injunctive relief in USA case

 and possibly have the injunction set aside. Although the City could still file

 a timely appeal since the appeal period has been extended as a result of a

 Motion for Additional Relief Under Federal Rule of Civil Procedure 59(e),

 filed by the United States, FR App P 4(a)(1)(B)(i) and 4(a)(4)(A)(iv), the City

 cannot preclude Adam from using the subject property as a place of

 worship even if the injunction in the USA case is set aside. This is true

 because Adam’s use of the subject property would be deemed a valid non-

 conforming use under the Michigan Zoning Enabling Act, MCL 125.3102 et

 seq. Pursuant to MCL 125.3208, if the use of a building or land is lawful at

 the time of enactment of a zoning ordinance or an amendment to a zoning

 ordinance, that use may continue as a nonconforming use even if it does

 not comply with the zoning ordinance. In this case, Adam’s current use of

 the subject property as a place of worship is lawful and was lawful at the


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 time of the enactment of the zoning ordinance based on the Court’s

 decision in the USA case that Section 6.21 violated RLUIPA. Thus, even if

 the injunction in the USA case is set aside on appeal, the fact that Adam

 has now lawfully established a place of worship on the subject property

 precludes the City from taking any action to preclude such use in the future.

          II.     PLAINTIFF’S CLAIMS FOR DAMAGES SHOULD BE
                DISMISSED BECAUSE RLUIPA DOES NOT AUTHORIZE
                              MONETARY DAMAGES


    If the Court determines Plaintiff’s claims for declaratory and injunctive

 relief are moot, Plaintiff may argue its case should not be dismissed

 because of its request for money damages. However, RLUIPA does not

 allow for money damages. 42 U.S.C. § 2000cc-2a provides:

    A person may assert a violation of this chapter as a claim or defense in
    a judicial proceeding and obtain appropriate relief against a government.
    Standing to assert a claim or defense under this section shall be
    governed by the general rules of standing under article III of the
    constitution.

       In Sossamon v Texas, 563 US 277, 288; 131 S Ct 1651; 179 L Ed 2d

 700 (2011), the United States Supreme Court held “appropriate relief”

 under RLUIPA does not include suits for damages against a State.

 Although Sossamon involved a case brought under the institutionalized

 person provisions of RLUIPA, the ruling is applicable to a RLUIPA land use

 case since Section 2000cc-2a is applicable to both types of cases. In
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 discussing Sossamon, the Sixth Circuit in Haight v Thompson, 763 F 3d

 554, 568 (2014) noted:

    In denying the request for money damages, the Court made two
    essential points. The first was that Congress must speak with clarity –
    “clearly,” “expressly,” “unequivocally,” … before it imposes money-
    damages remedies against the States under its spending powers, …
    The second was that the phrase “appropriate relief’” does not clearly
    create a money-damages action because the language plausibly covers
    injunctive, declaratory, and other non-monetary relief. In the Courts
    words, “appropriate relief” is “open-ended and ambiguous about what
    types of relief it includes.” … “Far from clearly identifying money
    damages,” the Court concluded, “the word ‘appropriate’ is inherently
    context-dependent” and thus does not apply to money-damages claims.
    (citations omitted).


       Since the “Sixth Circuit has determined ‘appropriate relief’ does not

 clearly create a money-damages action …, a money-damages action cannot

 be sustained against counties or municipalities.” Eidam v County of Berrien,

 2019 WL 7343354, U.S. District Court (WD Mich, 2019), Case No. 1:19-cv-

 978, citing Haight at 568 and Sossamon at 86-87. Accordingly, the money

 damage claims against the City of Troy should be dismissed.

       Plaintiff may argue that it can pursue damages based on its Section

 1983 claims. However, as set forth in the City’s initial brief in support of its

 motion for summary judgment, ECF No. 68, Plaintiff has not articulated

 specific facts supporting its Section 1983 claims independent of its RLUIPA

 claims. Thus, to the extent Plaintiff’s Section 1983 claims are based on


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 RLUIPA, Plaintiff cannot use Section 1983 to get damages RLUIPA does not

 provide. Cavin v Michigan Department of Corrections, 927 F 3d 455, 460 (CA

 6, 2019), Eidam, at 9. Since RLUIPA “provides an ‘express’ cause of action

 under the statute, it ordinarily indicates that plaintiffs cannot access ‘a more

 expansive remedy under §1983.” Id. “Put another way, the reality that

 RLUIPA doesn’t allow for damages indicates that Congress didn’t intend §

 1983 to provide a backdoor to achieving a different result.” Id. Thus, all of

 Plaintiff’s claims for monetary relief should be dismissed.

       Wherefore, the City Defendants request that this Court allow and

 consider this supplemental argument to their motion for summary judgment

 and dismiss all of the remaining claims set forth in Plaintiff’s complaint.



 Dated: August 15, 2022                      s/Allan T. Motzny_______
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                            Certificate of Service

 I hereby certify that on August 15, 2022, I electronically filed DEFENDANTS

 MOTION      TO   SUPPLEMENT         THEIR    MOTION      FOR     SUMMARY

 JUDGMENT TO ASSERT AN ADDITIONAL ARGUMENT BASED ON

 MOOTNESS and BRIEF IN SUPPORT OF MOTION with the Clerk of the

 Court using the ECF system which will send notification of such filing to all

 parties of record using the ECF system.



 Dated: August 15, 2022                    s/Allan T. Motzny Dated:
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